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                               · IN THE UNITED STATES.DISTRICT COURT                           PETERA.'MOORE, JR;, CLERK
                                                                                              BYUS DIS~:CURT, EDNC
                            FOR THE EASTERN DISTRICT OF NORTH CAROLINA                           --::~~19:~:::)--DEP CLK
                                            WESTERN DIVISION
                                      Civil Action No.: 5:18-cv-484-BO

                                                       )
EPIC GAMES, INC ,                                      )
                                                       )
                 Plai:::~tiff,                         )
                                                       )    REPORT OF THE l-' ARTIES' PLANN:ING
v.                                                     )                MEETING
                                                       )            Fed. R. Civ. P. 26(f)
BRANDON LUCAS,                                         )
                                                       )
                 Defendant.                            )
                                                       )
 --------------)


                       REPORT OF THE PARTIES' PLANNING MEETING

l.     The following persons participated in a Rule 26(f) conference on January 16th, 2018 by
                       ;1



       telephone:

       Christopher M. Thomas, representing Epic Games, Inc.

       Brandon L1 :cas appeari~g pro se.
                                                                                 ,.·· ... -

       Joseph Lucas, Brandon's Father.
                                                                                  _._.,,

2.     Initial Dis1.:;losures: The parties will complete the initial disclosures required by Rule

       26(a)(l) by February 8, 2019. The parties agree that supplemental <lisClosures under

       Fed. R. Civ. P. 26(e) will be made promptly after the receipt of information by the party

       or counsel and, in any event, no later than the completion of fact      di~•covery,    unless good

       reason can b<.~ shown why such information was not available.

3.     Discovery ~.;.an. The parties propose this discovery plan:

       (a)       Scq;'.Je of Discovery: Discovery will be needed on these subjects:
                      ;·'
                                                                                 .;.·_


                             Plaintiff Epic Games, Inc.'s intends to seek discovery into:
                                                                                     ·. i .


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                 Its claims against Defendant Brandon Lucas for (i) direct and .(ii) contributory

                 copyright infringement in violation of the Copyright Act; (iii) breach of contract

                 in violation of North Carolina law; (iv) intentional interference with contractual

                 relations in violation of North Carolina law; and (v) unfair and deceptive trade

                 practices and unfair methods of competition in violation of the North Carolina

                 Unfair and Deceptive Trade Practices Act. This discovery will include, without

                 limitation:

                     •   Defendant's use of cheat software;

                     •   Defendant's promotion of cheat software;

                     •. the use of cheat software in videos copied, published, displayed,

                         performed and/or distributed by Defendant;

                     •   the ownership, operation, and control of the YouTube channel(s) where

                         Defendant published, displayed, performed and/or distributed videos,

                         including, without limitation, "the Golden Modz Channel";

                     •   the ownership, operation, and control of the various other social media

                         platforms used by Defendant in connection with his business, including,

                         without limitation, Twitter, Instagram, and Google+ accounts;

                     •   the creation, ownership, operation, and control of the Y mi.Tube videos

                         copied, published, displayed, performed and/or distributed by Defendant;.

                     •   the creation, ownership, operation, and control of other material copied,

                         published, displayed, performed and/or distributed by Defendant;

                     • · the ownership, operation, and control of the website to which

                         <www.goldengodz.com> resolved (the "Golden Godz Website") at the

                         time the complaint was filed;

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                    ·~.   the ownership, operation, and control of the website to which

                          <gtagods.com/shop> resolved (the "GTA Gods Website") at the time the

                          complaint was filed;

                    •     the identities of the participants in the YouTube videos published by

                          Defendant;

                    • · Defendant's income related to his social media platforms, videos, and

                          promotion of products and services;

                    • · contractual agreements related to Defendant's social media platforms,

                          videos, and promotion of products and services;

                    (I·   Defendant's promotion of himself, his YouTube videos, his social media

                          presence, and third party products and services;

                    •     The "spiderman modded·skin"; and

                    •     The sale ofFortnite accounts on the Golden Godz Website

                 Defendant Brandon Lucas intends to seek discovery into:

                    e     Sales by month dating back to the inception of F ortnite

                    •     Net Profits by month dating back to the inception ofFortnite including

                          contractual agreements, partnerships with third party companies, investors

                          in Fortnite/Epic games, sponsorships with third party companies.

                    •     unique players monthly dating back to the inception ofFortnite

                    •     maximum concurrent players daily/monthly/lifetime dating back to the

                          inception of F ortnite

                    •     Hours played by every individual daily/monthly/lifetime dating back to .

                          the inception of Fortnite

                    •     Contractual agreements related to all content creatorsjncluding messages·

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                         involving talk of coming to a contractual agreement b~tween epic

                         games/fortnite and content creators

                     •   All Cease and Desist letters sent out to other content creators on YouTube

                         and all other social media creators

                     e   the ownership, operation, and control of all social medias that may

                         contain messages to other content creators that have come to contractual ,

                         agreements with the plaintiff, including and not limited to all Fortnite/epic

                         games-owned youtube channels, instagrams, twitter accounts, and google .

                         +accounts

                     •   plaintiffs income related to their social media platforms, videos, and

                         promotion of products and services.




       (b)       Deadline for Discovery: The parties agree that all discovery will be completed

                 within six (6) months of the date the Scheduling Order entered pursuant to Fed. R.

                 Civ. P. 16. The parties agree to schedule their discovery in such a way as to

                 require all responses to discovery to be served prior to the cut·off date, and to file

                 any motions relating to discovery within the discovery period unless it is

                 impossible or impractical to do so.

       (c)       Interrogatories: The parties agree to be limited to twenty-five (25) written

                 interrogatories, including all discrete subparts, under Fed. R, Civ. P. 33. Answers

                 to written interrogatories shall be due thirty (30) days after service unless an

                 extension is granted by the serving party. Supplementary responses to written

                 interrogatories will be made promptly after the receipt of information by the party

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                 or counsel and, in any event, no later than the completion of fact discovery, Unless

                 goed reason can be shown why such information was not available.

       (d)       Re@ests for Admission: The parties agree to be limited to twenty-five (25)

                 requests for admission, including all discrete subparts, under Fed. R. Civ. P. 36.

                 Answers to requests for admission shall be due thirty (30) days after service

                 unless an extension is granted by the serving party. Suppleniei1tary responses to

                 requests for admission will be made promptly after the receipt of information by

                 the; party or counsel and, in any event, no later than the completion of fact

                 discovery, unless good reason can be shown why such inform~tion was not

                 available.

       (e)       Depositions: The parties agree to be limited to seven (7) depositions each by

                 plaintiff and by defendant, without leave of court under Fed. R. Civ. P. 30. Unless

                 otherwise stipulated or ordered, depositions are limited to one (1) day of seven (7)

                 hours.

       (f)       Document Production:

                 (1.) The parties agree that unless otherwise noted below, the scope of discovery

will be governed by Fed. R. Civ. P. 26, and each party will search for responsive documents in

the location(s) where they are believed to reside. The producing party shall not be required to

search for additional copies of such responsive documents that may be located elsewhere absent

a showing of good cause that the production of such additional copies is necessary.

                          (i.)   The parties agree that materials retained primarily for back-up or

disaster recovery purposes such as tape, optical disk, or similar formats are deemed not

reasonably accessible under Fed. R. Civ. P. 26(b)(2)(B) and therefore, not subject to production

unless specific facts demonstrate a particular need for such evidence that justifies the burden of

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retrieval.

                       (ii.)    The parties agree that voicemail messages, random access

memory, instant messages and chats, text messages, information from mobile phones, smart

phones or PDAs, and dynamic fields of databases or log files, and communications sent and
 .                                                                       .
received using third party social media platforms need not be searched and will not be subject to

production absent a specific request by the requesting party based upon specific facts t~i.at

demonstrate a particular need for such evidence from specific document custodians that justifies

the burden of search and retrieval.

                       (iii.)   The parties agree that general ESI production requests under·

Federal Rules of Civil Procedure 34 and 45 shall not include email or other forms of electronic

correspondence (collectively "email"). To obtain email, parties must propound specific email

production requests. Email production requests shall only be propounded for specific issues,

rather than general discovery. A party may request email discovery by propounding specific

email production requests. Email production requests shall identify the custodian, search tenns,

and time frame, and be subject to the other terms of this provision. The parties shall cooperate to

identify the proper custodians, proper search terms and proper timeframe.

                       (iv.)    The parties shall limit their email production requests to a total of

ten (10) search terms per custodian who is not a named party. The search terms shall be narrowly

tailored to particular; issues. Indiscriminate terms, such as the producing company's name or its

product name, are inappropriate unless combined with narrowing search criteria that sufficiently

reduce the risk of overproduction. A conjunctive combination of multiple words or phrases (e.g.,

"computer" and "system") narrows the search and shall count as a single search term.              A

disjunctive combination of multiple words or phrases (e.g., "computer" or "system") broadens



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the search, and thus each word or phrase shall count as a separate search term unless they are

variants of the same word.

                       (v.)    The producing party will conduct a search of each identified

custodian's emails (sent and received) using the corresponding search terms. If the producing

party believes, in good-faith, that a search will result in overproduction from a custodian (that is,

if a substantial number of hits captured by the search are not relevant to any claim or defense),

the producing party will provide to the receiving party a datasheet showing the number . of

.documents from said custodian captured by the search ("hits"). The receiving party shall then

identify a narrower set of search terms that the producing party will use to search the custodiari.' s
                   .                                                                                 '
emails. The producing party shall then produce to the receiving party the documents captured by

the selected search after review for privilege and relevance in a manner consistent with this

Report. The parties reserve their respective rights to assert the attorney-client privilege, work

product and/or other discovery privilege or immunity with respect to any such production. Any

emails or email attachments withheld on the basis of attorney-client privilege, work product

and/or other privilege 'or discovery immunity must be logged in accordance with Rule 26.

                       (vi.)   Once the producing party has·identified and produced a particular

email, the producing party is not required to search for or produce additional copies of such

responsive email that may be in the possession of other employees of the producing party absent

a showing of good cause that the production of such additional copies is ne~essary. In the event

email discovery is specifically requested according to this procedure and a dispute between the

parties arises, the parties will work in good faith to resolve the matter but reserve their rights .to

oppose any such .requests and/or seek an appropriate protective order or other relief where

·appropriate.



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                 (2} .   The parties have discussed the format for the produd:ion of electronically
                                                                               .\
stored information (e.g., Tagged Image File Format (TIFF or .TIP files), Portable Document

Format (PDF), or native), method of production (e.g., USB drive), and the inclusion or exclusion

and use of metadata, and have agreed as follows:

                         (i.)     In General. All documents produced in this case will be produced

initially in PDF format. Either party may request the production of native: files and/or metadata

for certain documents by propounding specific production requests for those documents,

propounded for specific issues, rather than general discovery.

                         (ii.)    Natives. Produced native files shall be assigned a production bates

number. Any attachments to parent emails shall be extracted as individual files and sequentially

numbered, so that the attachments appear directly after the parent email. .The production bates

number shall replace the original file name (e.g., ABCOOOOOl.xls) provided that the original file

name is included in the metadata (".DAT") file.          A separate field shall be included in the

metadata (".DAT") file or as a separate cross reference (".DAT") file, containing the relative

path of the native file. The native file name may reflect any designation of confidentiality (e.g.,

ABCOOOOO 1_Highly Confidential.xis) or the designations can be provided as a separate metadata

field.

                         (iii.)   Metadata for emails. The metadata for emails· shall be produced in

a delimited text file format with Concordance (".DAT") default delimiters using ASCII

characters 020 (e.g., Comma), 254 (e.g., Quote) and 174 (e.g., Newline). Date fields shall be

provided in mm/dd/yyyy format and shall not contain invalid or zero filled dates. The first line of

the delimited text file must be a header row identifying the following field names (preferred field

names in parenthesis):



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                 1.    Begin Document Number (BegDoc) - Beginning bates number of a
                       document
                 2.    End Document Number (EndDoc) - Ending bates number of a document
                 3.    Begin Attachment Number (BegAttach) - Beginning bates number of the
                       attachment family
                 4.    End Attachment Number (EndAttach) - Ending bates number of the
                       attachment family                                      -
                 5.    Custodian Name (Custodian) - Name of person from whom the file was
                       obtained
                 6.    All Custodians (All Custodians) - Name of person(s) who had copies of
                       the same file
                 7.    Document Class (Doc Class)- Indicates document type, i.e., Email, Edde,
                       Attachment or Hard Copy
                 8.    Primary Date Time (Sort Date Time)-- Date and time date of the top-level
                       parent document taken from Email Sent Date Time, Email Received Date
                       Time, or Last Modified Date in the order of precedenc~                    _
                 9.    Application Type (Application Type) - Type of native file or name of
                       application associated with the document
                 10.   Email From (From)-Name of person sending an email
                 11.   Email To (To)-Name(s) ofperson(s) receiving email·.
                 12.   Email CC (CC)-Names of persons carbon copied on an email
                 13.   EmailBCC (BCC)-Names of persons blind copied on an email
                 14.   Email Subject (Subject)- Subject line of an email
                 15.   Attachment Name (Attachment List) - The attachment file names of the
                       children associated with the document                   '
                 16.   Email Sent Date Time (Sent Date Time) - Date and time email was sent
                 17.   Email Received Date Time (Received Date Time) - Date and time email
                       was received
                 18.   Original File Path (File Path) - Path and file name of the original native
                       file
                 19.   File Name (File Name)-Name of the original native: file                  _
                 20.   File Extension (File Extension) - The file extension of the original native
                       file
                 21.   File Size (File Size) - Size of the file in bytes
                 22.   Hash Code (Hash) - Identifying MD5 or SHA hash value of an electronic
                       record
                 23.   Processing Time Zone (Time Zone) - Time zone utilized by processii1g
                       application to extract date and time values
                 24.   Confidentiality Designation (Designation) - Confidentiality designation of
                       a document
                 25.   Text File Path (Text Path) - Relative path to the text file
                 26.   Native File Path (Native Path) - Relative path to the native file




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                           (iv.)   Metadata for non-email electronic documents. The fields to be

  produced for non-email electronic documents and scanned hard copy docmnents are as follows

·.,(preferred field names in parenthesis):

                    1.     Begin Document Number (BegDoc) - Beginning' bates number of a
                           document
                    2.     End Document Nllinber (EndDoc) - Ending bates. mnnber of a document
                    3.     Begin Attachment Number (BegAttach) - Beginning bates number of the
                           attachriient family                                      ;
                    4.     End Attachment Number (EndAttach) - Ending J)ates number of the
                           attachment family
                    5.     Custodian Na,me (Custodian) - Name of person froin whom the file was
                           obtained                      ·
                    6.     All Custodians (All Custodians) - Name of person(!'i) who had copies of
                           the same file                                                              .
                    7.     Primary Date Time (Sort Date Time)- Date and time date of the top-levd
                           parent document taken from Email Sent Date Time, ;Email Received Date
                           Time, or Last Modified Date in the order of precedence                    '
                    8.     Document Class (Doc Class)- Indicates document type, i.e., Email, Edoc,
                           Attachment or Hard Copy                    .           '. •                 .
                    9.     Application Type (Application Type) - Type of native file or name of
                           application associated with the document
                    10.    Document Author (Meta Author) - The metadata ~uthor of the original
                           native file                     .                        ;
                    11.    Document Title (Meta Title) - The metadata title of the original native file
                    12.    Created Date Time (Created Date Time) - Date and time document was
                           created
                    13.    Modified Date Time (Last Modified Date Tim~) - Date and time
                           document was last modified
                    14.    Original File Path (File Path) - Path and file name:,of the original native
                           file                                                   ·
                    15.    File Name (File Name)-Name of the original native file
                    16.    File Extension (File Extension) - The file extension of the original native
                           file
                    17.    File Size (File Size)- Size of the file in bytes
                    18..   Hash Code (Hash) - Identifying MD5 or SHA hash value of an electroujc
                           record
                    19.    Processing Time Zone (Time Zone) - Time zone utilized by processing
                           application to extract date and time values
                    20.    Has Hidden Data (Hidden Data) - Indicates existe~ce of hidden content
                           stored in a document                       ·             ·
                    21.    Confidentiality Designation (Designation)- Confidentiality designation of
                           a document                                               ~,
                    22.    Text File Path (TextPath) - Relative path to the text file
                    23.    Native File Path (Doclink) - Relative path to the natiV;e file

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                         (v.)     Email Threading. The producing party may cHoose to use software

to identify and produce only inclusive emails, including any unique attachments from non-

inclusive emails. If the inclusive email is determined to be privileged, the producing party must

review the non-inclusive emails from that email thread for privilege and the non-privileged

emails and attachments must be produced.

                         (vi.)    Extracted Text.   Extracted text shall be provided in a separate

folder as a document-level text (".TXT") files for all documents that originate in electrornc

format.     Any document in which text cannot be extracted will have Optical Character

Recognition ("OCR") performed and provided in document-level format. The name of the text

file shall be the same as the document's production bates number with a ;TXT extension (e.g.,

ABCOOOOOl.txt). A separate field shall be included in the metadata (".DAT") file containing

the current relative path of the text file or as a separate cross reference (".DAT") file.

                         (vii.)   Transmittal. All documents shall be produced on a digital media

that corresponds to the size of the data set (i.e., CD-ROM, DVD-ROM, flash drive, external hard

drive, etc.). Other means of transmittal can be used if agreed upon in advance by the parties (i.e.,

secure ftp transfer or other encrypted and secure means of electronic transmittal).

                         (viii.) Hard Copy Documents.          The parties agree to each produce

electronic copies of logically unitized hard copy documents as they_ arc kept in the ordinary

course of business, Color pages shall be provided in a Joint Photographic Experts Group format

(" .JPG"). Each page of a document shall be consecutively numbered and endorsed ("burned in")

with a unique bates number onto each image.

          (g)     Protective Order: The parties anticipate this case will involve• the discovery of

                  confidential commercial information and therefore intend to exchange a proposed


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                 Protective Order by February 8, 2019 to address the parties' respective claims of

                 confidentiality and trade secrets with respect to documents and information that

                 they anticipate will be sought by way of discovery.


4.     Other Items:

       (a)       Scheduling Conference: The parties do not request a scheduling conference.

        (b)      Pretrial conference: The parties agree that any pre-trial conference be held seven

                 (7) days before trial.

       (c)       Deadline to Amend: The parties agree that the deadline to amend pleadings and·

                 join additional parties without seeking leave of Court within four (4) months of

                 the date the Scheduling Order entered pursuant to Fed. R. Civ. P. 16

       (d)       Dispositive motions: The parties agree that the deadline to file dispositive motions

                 is within two (2) months of the close of discovery.

       (e)       Settlement and Mediation: The parties have initiated settlement discussions.

                 Should settlement discussions fail, the parties are willing to discuss mediation.

       (f)       Pretrial Disclosures: The parties agree that pretrial disclosures shall be made

                 thirty (30) days before trial per Rule 26(a)(3)(B).

        (g)      Pretrial Objections: The parties agree that objections under Rule 26(a)(3) shall be

                 made fourteen (14) days after the pretrial disclosures are filed per Rule

                 26(a)(3)(B).

       (h)       Trial: The parties agree that trial shall be sixty (60) days after ruling on

                 dis:positive motions, and anticipate the trial will take no more than four (4) days.




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Date: February 8th, 2018


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                                      Boynton Beach Florida, 33436
                                      Phone No. 56'1-293-9006




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